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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

ATLANTIC MARITIME SERVICES, LLC §                                    CIVIL ACTION No.
                                §
                  Plaintiff,    §                                    SECTION “ ”
VS.                             §
                                §                                    DIVISION “ ”
ECOPETROL AMERICA, LLC,         §
                                §                                    JUDGE:
in rem                          §                                    MAGISTRATE:
                                §
                 Defendant.     §
                                §

VERIFIED COMPLAINT IN REM SEEKING RECOGNITION AND ENFORCEMENT
  OF ATLANTIC MARITIME SERVICE, LLC’S LIEN AND PRIVILEGE RIGHTS
   SOLELY WITH RESPECT TO THE SUBJECT INTERESTS OF ECOPETROL
            AMERICA, LLC AND ENFORCING SUCH RIGHTS
                   BY WRIT OF SEQUESTRATION

       NOW HERE COMES Atlantic Maritime Services, LLC (the “Plaintiff”) and files this

Verified Complaint seeking recognition of the Plaintiff’s lien and privilege rights solely with

respect to the Subject Interests (defined hereinbelow) of Ecopetrol America, LLC (“Ecopetrol”),

and enforcing such rights by writ of sequestration, specifically reserving any and all rights to seek

additional legal or equitable relief against other property or persons accountable for the claims

stated herein. In support of the Verified Complaint, the Plaintiff respectfully shows as follows:

                                              Parties

       1.      The Plaintiff is a Delaware limited liability company with its principal place of

business located at 5847 San Felipe Street, Suite 3300, Houston, TX 77057. The Plaintiff is a

wholly-owned subsidiary of Valaris plc, debtor-in-possession in bankruptcy case no. 20-34114,

pending before the Bankruptcy Court for the Southern District of Texas. (Bankr. S.D. Tex. 20-

34114, ECF Doc. 1).

       2.      Ecopetrol is a Delaware limited liability company with a principal place of business

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located at 2800 Post Oak Boulevard, Suite 5110, Houston, TX 77056.

                                       Jurisdiction and Venue

         3.       This Court has jurisdiction over this matter because the case and controversy herein

arises out of, and in connection with, operations conducted on the Outer Continental Shelf for the

exploration, development, or production of minerals, subsoil, and seabed of the Outer Continental

Shelf.    Thus,     jurisdiction   exists    pursuant     to     the     Outer   Continental   Shelf   and

Lands Act, 43 U.S.C. §1349(b)(1).

         4.       Venue is proper in this District under 43 U.S.C. §1349(b)(1) because this is the

"judicial district of the State nearest the place the cause of action arose."

                                            Factual Allegations

         5.       The Plaintiff is lawfully engaged in the business of furnishing labor, equipment,

machinery, materials, and services, including drilling services, in support of drilling, development,

exploration and/or operation of oil and gas wells.

         6.       Based on the records of the Bureau of Ocean Energy Management (“BOEM”),

Ecopetrol holds a 31.5% working interest in a certain lease situated in the Outer Continental Shelf,

OCS-G-28030, Mississippi Canyon Area, Block 948 (the “Lease”), containing Well #4 (API

608174129900) (the “Well”), for which Fieldwood Energy, LLC (the “Operator”) serves as

operator of record.

         7.       Between June 4, 2020 and July 4, 2020, the Plaintiff furnished goods, equipment,

supplies, and services for and in connection with the drilling and/or operation of the Lease and

Well in the total principal amount of $5,824,744.68, as reflected in the invoices and work tickets

attached hereto. See Exhibits 1-4, pp. 5-17, pp. 5-17, pp. 5-17, and pp. 4-16, respectively.

         8.       Pursuant to La. R.S. § 9:4861, et seq. (“LOWLA”), the Plaintiff is granted a



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privilege and lien (the “Lien”) to secure payment owed for the goods, equipment, supplies,

services, and other materials provided by the Plaintiff for the benefit of the Lease and Ecopetrol.

         9.       The Plaintiff properly preserved, perfected, and maintained the perfection of the

Lien by filing and recording the following lien affidavits (the “Lien Affidavits”) on July 16, 2020:

               (i) Statement of Privilege in the amount of $5,824,744.68, in favor of the Plaintiff,
               against Lease No. OCS-G-28030, Mississippi Canyon, Block 948, filed and recorded in the
               mortgage records of St. Tammany Parish, as Instrument No. 2215417, Reg. No. 2705279
               (attached hereto and incorporated by reference as Exhibit 1);

               (ii) Statement of Privilege in the amount of $5,824,744.68, in favor of the Plaintiff,
               against Lease No. OCS-G-28030, Mississippi Canyon, Block 948, Orleans Parish as
               Instrument No. 2020-24965, MIN: 1334982 (attached hereto and incorporated by reference as
               Exhibit 2);

               (iii) Statement of Privilege in the amount of $5,824,744.68, in favor of the Plaintiff,
               against Lease No. OCS-G-28030, Mississippi Canyon, Block 948, filed and recorded in St.
               Bernard Parish as File No. 633342, Book 1945, Pages 454-470 (attached hereto and
               incorporated by reference as Exhibit 3); and

               (iv) Statement of Privilege in the amount of $5,824,744.68, in favor of the Plaintiff,
               against Lease No. OCS-G-28030, Mississippi Canyon, Block 948, filed and recorded in
               Plaquemines Parish, as File #2020-00002805, Book 772, Pages 616-632 (attached hereto and
               incorporated by reference as Exhibit 4).

         10.      The Lien Affidavits were each filed within 180 days of the completion of the work,

materials, tools, and equipment supplied by the Plaintiff in connection with the drilling,

development, exploration and/or the operation of the Lease on July 4, 2020. The Plaintiff provided

notice to the Operator by certified mail, delivered on July 20, 2020.

         11.      On August 3, 2020, the Operator filed a voluntary petition for bankruptcy relief,

commencing case no. 20-33948 (the “Bankruptcy Case”) before the United States Bankruptcy

Court for the Southern District of Texas (the “Bankruptcy Court”).1 (Bankr. S.D. Tex. 20-33948,


1
  As reflected in the reservations of rights throughout this Verified Complaint, the Plaintiff does not seek recognition
or enforcement of its Lien against the Operator or any of its property interests; however, the Plaintiff expressly reserves
the right, to the extent necessary, to seek relief from the automatic stay in the Bankruptcy Case to enforce its rights
against Ecopetrol’s interest in the hydrocarbons produced with respect to the Lease and the Subject Interests, as well


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ECF Doc. 1).

         12.      The principal amount owed for the work described above, $5,824,744.68, remains

past due and owing, together with attorneys’ fees up to ten percent (10%) of the amount due, costs

for preparing the Lien Affidavits and notice of lis pendens, and interest.

                                            CLAIMS FOR RELIEF

   Count I: Recognition and Enforcement of Plaintiff’s Lien against the Subject Interests

         13.      The Plaintiff incorporates hereinbelow all allegations in the preceding paragraphs.

         14.      LOWLA grants claimants like the Plaintiff a privilege and lien to secure payment

for their work by operation of law.

         15.      The lien and privilege afforded under LOWLA is established over:

               (1) “The operating interest under which the operations giving rise to the
                   claimant’s privilege are conducted, together with the interest of the
                   lessee of such interest in a:

                  (a) Well, building, tank, leasehold pipeline, and other construction
                      or facility on the well site.

                  (b) Movable on a well site that is used in operations, other than a
                      movable that is only transiently on the well site for repair,
                      testing, or other temporary use.

                  (c) Tract of land, servitude, and lease described in R.S.
                      9:4861(12)(c) covering the well site of the operating interest.

               (2) Drilling or other rig located at the well site of the operating interest
                   if the rig is owned by the operator or by a contractor from whom the
                   activities giving rise to the privilege emanate.

               (3) The interest of the operator and participating lessee in hydrocarbons
                   produced from the operating interest and the interest of a non-
                   participating lessee in hydrocarbons produced from that part of his
                   operating interest subject to the privilege.


as the proceeds of the sales of such hydrocarbons to third-party purchasers. The Plaintiff further reserves the right to
seek any other relief from the Bankruptcy Court or otherwise with respect to the Operator or any other persons or
properties accountable for the claims herein.

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             (4) The proceeds received by, and the obligations owed to, a lessee from
                 the disposition of hydrocarbons subject to the privilege.” (together,
                 the “LOWLA Properties”).

       La. R.S. § 9:4683(A)(1-4).

       16.      In this lawsuit, the Plaintiff seeks recognition and enforcement of its Lien solely

with respect to Ecopetrol’s interest in the specific property interests of Ecopetrol included within

La. R.S. § 9:4683(A)(1-4) (collectively the “Subject Interests”), expressly reserving any and all

rights to seek recovery of additional amounts associated with any sales proceeds derived from the

sale of the hydrocarbons produced from the Lease, insofar as the automatic stay arguably prevents

Plaintiff from seizing and garnishing such proceeds to the extent such proceeds are commingled

with proceeds attributable to the sale of hydrocarbons owned by the Operator in the absence of an

order from the Bankruptcy Court modifying or lifting the automatic stay as to such proceeds.

       17.      Additionally, pursuant to La. R.S. § 9:4862(B)(3), the Plaintiff seeks recognition of

its right to recover against the Subject Interests the cost of preparing and filing the Lien Affidavits

and the notice of lis pendens authorized to be filed under La. R.S. § 9:4865(c), which the Plaintiff

intends to file during the period allotted thereunder.

       18.      Furthermore, pursuant to La. R.S. § 9:4862(B)(2) and (4), the Plaintiff seeks

recognition of its right to enforce against the Subject Interests claims to recover reasonable

attorneys’ fees not to exceed ten percent (10%), as well as interest.

          Count II: Request for Writ of Sequestration against the Subject Interests

       19.      The Plaintiff incorporates hereinbelow all allegations in the preceding paragraphs.

       20.      Louisiana law recognizes that sequestration is warranted when a plaintiff claims a

privilege against the property of a defendant, and “it is within the power of the defendant to

conceal, dispose of, or waste the property or the revenues therefrom, or remove the property from



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the parish, during the pendency of the action.” La. Code Civ. P. art. 3571.

         21.      Additionally, Louisiana law provides that, for liens and privileges under LOWLA,

“[a] claimant may enforce his privilege by a writ of sequestration, without the necessity of

furnishing security.” La. R.S. § 9:4871.

         22.      Through this action, the Plaintiff seeks to enforce the Lien against property of

Ecopetrol, the Subject Interests, except that Plaintiff does not seek to seize any of the Subject

Interests to the extent such Subject Interests are commingled with property of the Operator and the

seizure thereof would potentially violate the automatic stay in the Operator’s Bankruptcy Case.

         23.      As holder of the Subject Interests, Ecopetrol has the power to alienate or encumber

the Subject Interests.

         24.      To protect the Plaintiff’s Lien, it is necessary that a Writ of Sequestration issue, in

accordance with La. Code Civ. P. Art. 3571, et seq., and without security in accordance with La.

R.S. § 9:4871, directing the United States Marshal to seize and to hold the Subject Interests until

further Order from this Court, and to record the Writ of Sequestration in the records of the Clerks

of Court for the Parishes of Orleans, St. Tammany, St. Bernard, and Plaquemines, and in the

records of BOEM.

         25.      The Plaintiff reserves the right to amend the Verified Complaint to name as

defendants all other working-interest owners of the Lease, including the Operator,2 and all

purchasers of the gas, oil and distillate produced and saved from wells located on the Lease, for

the purpose of this Court entering judgment against those purchasers, ordering them to turn over

to the Plaintiff all proceeds derived from the Lease in an amount sufficient to pay the full amount


2
 Inclusion of the Operator in this lawsuit shall be subject in all respects to the automatic stay associated with the
Operator’s Bankruptcy Case and Plaintiff shall seek such relief as is required from the Bankruptcy Court prior to
amending this Verified Complaint to include any request for relief with respect to the Operator or the Operator’s
property.

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of the indebtedness owed to the Plaintiff, including principal, interest, expenses, attorneys’ fees

and costs, as permitted by law.

       26.     The Plaintiff further reserves all rights to file a motion to lift or otherwise modify

the automatic stay in the Bankruptcy Case, seeking the sequestration and garnishment of the

proceeds of the other working-interest owners from sale of the hydrocarbons in connection with

the Lease.

       27.     Therefore, on the basis of the allegations above, verified by the Plaintiff’s

authorized representative, Ben Rose, and further supported by the Exhibits attached hereto, the

Plaintiff respectfully prays for recognition and enforcement of its Lien and issuance of a writ of

sequestration solely with respect to the Subject Interests, in substantially the same form as the Writ

of Sequestration attached hereto.

       WHEREFORE, the Plaintiff, Atlantic Maritime Services, LLC, respectfully prays that

this Court:

       (i)     Recognize the lien and privilege in favor of Atlantic Maritime Services, LLC in the
               amount of $5,824,744.68, together with interest, attorneys’ fees, the costs of
               preparing and filing the lien affidavits, and all court costs, solely with respect to
               Ecopetrol America, LLC’s interest in the specific property interests of Ecopetrol
               America, LLC included within La. R.S. § 9:4683(A)(1-4) (the “Subject Interests”);

       (ii)    Issue a writ of sequestration, the requirement of security having been dispensed
               with by law, directing the United States Marshal to serve or cause to be served the
               Writ of Sequestration on Ecopetrol America, LLC and to record the Writ of
               Sequestration in the records of the Clerks of Court for the Parishes of St. Tammany,
               Orleans, St. Bernard, and Plaquemines, and in the records of the United States of
               America, Bureau of Ocean Energy Management; and

       (iii)   Issue final judgment in favor of Atlantic Maritime Services, LLC and against the
               Subject Interests in the amount of $5,824,744.68, together with interest, attorneys’
               fees, the costs of preparing and filing the lien affidavits, and all court costs.




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                                                  Respectfully submitted,


LUGENBUHL, WHEATON, PECK                          /s/ Stewart F. Peck
RANKIN & HUBBARD                                  STEWART F. PECK (#10403)
                                                  JAMES W. THURMAN (#38494)
                                                  601 Poydras Street Suite 2775
                                                  New Orleans, LA 70130
                                                  Telephone: (504) 568-1990
                                                  Facsimile: (504) 310-9195
                                                  Email:speck@lawla.com;
                                                  jthurman@lawla.com

                                                  Counsel for Atlantic Maritime Services, LLC

PLEASE ISSUE SUMMONS:

Ecopetrol America, LLC
Care of its Registered Agent,
C T Corporation System
1999 Bryan Street, Suite 900
Dallas, Texas 75201-3136




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                                                   Document
                                               CIVIL    Filed1-6
                                                       COVER  in TXSB
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         Atlantic Maritime Services, LLC                                                                 Ecopetrol America, LLC
   (b) County of Residence of First Listed Plaintiff             Harris, Texas                           County of Residence of First Listed Defendant              Unknown
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
       Lugenbuhl Wheaton Peck Rankin & Hubbard; 601
       Poydras St. Ste. 2775, New Orleans, LA 70130;
       (504) 368-1990
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                Product Liability         690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                                                     400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                 820 Copyrights                   430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                               830 Patent                       450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                      New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                       840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original              2 Removed from                    3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding              State Court                           Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       43 U.S.C. § 1349(b)(1)
VI. CAUSE OF ACTION Brief description of cause:
                                       Enforcement of lien rights solely against the interest of the defendant in the specific property interests included within La. R.S. § 9:4863(A)(1)-(4).
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $ $5,824,744.68CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.
                                                                                                            (In Rem)     JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
Nov 13, 2020
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE

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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

ATLANTIC MARITIME SERVICES, LLC §                                    CIVIL ACTION No.
                                §
                Plaintiff,      §                                    SECTION “ ”
VS.                             §
                                §                                    DIVISION “ ”
ECOPETROL AMERICA, LLC          §
                                §                                    JUDGE:
                                §                                    MAGISTRATE:
in rem                          §
                Defendant.      §

                                 WRIT OF SEQUESTRATION

TO:     United States Marshal
        For the United States District Court
        For the Eastern District of Louisiana

        You are hereby commanded, in the name of the United States District Court for the Eastern

District of Louisiana, to seize and sequester and take into your possession and safely hold, until

further order of the Court, the following property:

           All interests held by Ecopetrol America, LLC in the specific property
           interests of Ecopetrol America, LLC included within La. R.S. § 4863(A)(1)-
           (4) associated with the operating interest covering the lease situated in the
           Outer Continental Shelf, OCS-G-28030, Mississippi Canyon Area, Block
           948 (the “Lease”), containing Well #4 (API 608174129900) (the “Well”) (the
           “Subject Interests”).

        IT IS ORDERED that a Writ of Sequestration is hereby issued as prayed for in the above-

captioned matter, the requirement of security having been dispensed with by law; and

        IT IS FURTHER ORDERED that the United States Marshal is hereby directed to (i)

serve or cause to be served this Writ of Sequestration on Ecopetrol America, LLC, and (ii) record

or cause to be recorded this Writ of Sequestration in the records of the Clerks of Court for the

Parishes of Orleans, St. Tammany, St. Bernard, and Plaquemines, and in the records of the United

States of America, Bureau of Ocean Energy Management.

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New Orleans, Louisiana, this ____ day of _______________, 2020.


                                            ____________________________________
                                                         JUDGE




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